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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE:                                              Case No. 13-md-02420-YGR (DMR)

                                   8
                                        LITHIUM ION BATTERIES                               ORDER ON PLAINTIFFS’ MOTION TO
                                   9    ANTITRUST LITIGATION                                CONTINUE DEPOSITION OF HIROSHI
                                                                                            KUBO
                                  10
                                                                                            Re: Dkt. No. 803
                                  11

                                  12          Plaintiffs filed a motion to continue the deposition of Hiroshi Kubo, a current Toshiba
Northern District of California
 United States District Court




                                  13   Corporation (“Toshiba”) employee who is one of three affiants supporting Toshiba’s motion for

                                  14   summary judgment. [Docket No. 803.] Toshiba filed an opposition. [Docket No. 809.] On

                                  15   August 27, 2015, the Honorable Yvonne Gonzalez Rogers referred the matter to the undersigned

                                  16   for resolution. [Docket No. 818.] The court finds this matter appropriate for resolution without a

                                  17   hearing pursuant to Civil Local Rule 7-1(b). For the following reasons, Plaintiffs’ motion is

                                  18   granted.

                                  19                                               I. Discussion

                                  20          Kubo’s deposition is currently set for September 3-4, 2015 in San Francisco, California.

                                  21   On August 14 and 17, 2015, Toshiba produced over 2,100 documents (totaling over 4,000 pages)

                                  22   from Kubo’s custodial files, virtually all of which are in Japanese. Plaintiffs ask the court to

                                  23   continue Kubo’s deposition to October 1, 2015 at the earliest, arguing that they would otherwise

                                  24   be prejudiced in their ability to review the recent document production and obtain the necessary

                                  25   certified translations in advance of Kubo’s deposition as currently scheduled. Plaintiffs also ask

                                  26   the court to alter Judge Gonzalez Rogers’s June 8, 2015 order setting the briefing schedule for

                                  27   Toshiba’s motion for summary judgment so that their opposition is due 28 days from the

                                  28
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                                   1   conclusion of Kubo’s deposition.1

                                   2          Toshiba opposes the motion. First, it argues that Plaintiffs’ July 21, 2015 deposition notice

                                   3   to Kubo included a document request that demanded production by August 19, 2015. Toshiba

                                   4   contends that it produced responsive documents by the requested deadline, and therefore a

                                   5   continuance of Kubo’s deposition is not warranted. Toshiba also argues that Plaintiffs have failed

                                   6   to show substantial harm or prejudice that would result from conducting Kubo’s deposition as

                                   7   scheduled.

                                   8          Having reviewed the record, the court finds that Toshiba’s mid-August 2015 document

                                   9   productions were untimely and prejudicial. On February 18, 2015, Toshiba represented that it

                                  10   would “produce documents from the files of our affiants [in support of Toshiba’s motion for

                                  11   summary judgment] by May 1, 2015,” and that “[t]he production would include documents

                                  12   responsive to Plaintiffs’ Requests for Productions served to date.” (Pilotin Decl., Aug. 20, 2015,
Northern District of California
 United States District Court




                                  13   Ex. B (emphasis added).) In fact, Toshiba did not produce documents from Kubo’s custodial files

                                  14   until June 10, 2015. (Pilotin Decl. Ex. E.) In mid-August, Toshiba produced an additional 2,100

                                  15   documents “after a final review of Mr. Kubo’s files to ensure that all responsive, non-privileged

                                  16   documents had been provided to Plaintiffs.” (Hogue Decl., Aug. 23, 2015, ¶ 7.)

                                  17          Toshiba’s argument that its mid-August 2015 production was timely made in response to

                                  18   the document requests accompanying Kubo’s deposition notice is unpersuasive. Toshiba has

                                  19   admitted that the requests attached to the deposition notice asked for the same information made in

                                  20   Plaintiff’s previous document requests. (See Pilotin Decl. Ex. G (Aug. 12, 2015 letter from

                                  21   Toshiba counsel to Plaintiffs’ counsel: “Plaintiffs’ prior discovery requests cover virtually all of

                                  22   the information requested in the [deposition] notices,” and “to the extent the prior discovery

                                  23   requests sought the same information as the [requests for production attached to the Kubo

                                  24   deposition notice], that information has been produced.”).)

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                                  26     The briefing schedule currently provides that Plaintiffs’ opposition is due within 35 days after
                                       the last deposition of Toshiba’s affiants. The parties have determined that the last affiant deponent
                                  27   will be Kubo. [Docket No. 729.] Toshiba’s reply is due within 30 days after the opposition is
                                       filed. [Docket No. 727.]
                                  28                                                     2
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                                   1          Toshiba concedes this again in the cover letters accompanying its August 14 and 17, 2015

                                   2   production of documents from Kubo’s custodial file. In those letters, Toshiba does not represent

                                   3   that the documents are being produced in response to the deposition notice. Rather, Toshiba states

                                   4   that the documents “are produced in response to Direct Purchaser Plaintiffs’ and Indirect

                                   5   Purchaser Plaintiffs’ Third and Fourth Sets of Requests for Production of Documents to All

                                   6   Defendants and Direct Purchaser Plaintiffs’ and Indirect Purchaser Plaintiffs’ First Set of Requests

                                   7   for Production” to Toshiba. (Pilotin Decl. Ex. H; Hogue Decl., Aug. 23, 2015, Ex. D.) In sum,

                                   8   Toshiba has admitted that the Kubo documents produced on August 14 and 17, 2015 were

                                   9   responsive to Plaintiffs’ earlier discovery requests. Accordingly, they should have been produced

                                  10   as promised in May 2015. Toshiba’s August productions were untimely, and Toshiba offers no

                                  11   explanation or justification for its late production. The prejudice arising from late production of

                                  12   thousands of pages of Japanese language documents is manifest.
Northern District of California
 United States District Court




                                  13          Plaintiffs’ motion to continue is GRANTED. The parties shall meet and confer regarding

                                  14   rescheduling Kubo’s deposition to take place on or after October 1, 2015. Plaintiffs’ opposition to

                                  15   Toshiba’s motion for summary judgment is due within 28 days after completion of the Kubo

                                  16   deposition. Toshiba’s reply is due within 30 days after the opposition is filed.

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                                  18          IT IS SO ORDERED.                                             TA

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                                                                                                        E States Magistrate Judge
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